8:10-cr-00158-LSC-SMB           Doc # 203       Filed: 01/17/11      Page 1 of 6 - Page ID # 583




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff(s),                           8:10-cr-00158-LES-FG3

       v.
                                                                  SUPPLEMENTAL
CARLOS LOMELI and
MANUEL HERNANDEZ,                                    FINDINGS AND RECOMMENDATION

                       Defendants.


       In their motions to suppress evidence (Doc. 142 & Doc. 158), the defendants both contested

the legality of an order entered October 22, 2009 authorizing the interception of certain wire

communications by the Drug Enforcement Administration (DEA) for use in an ongoing narcotics

investigation. On December 9, 2010, I entered my Findings and Recommendation (Doc. 188) that

all evidence obtained as the result of a wiretap authorized October 22, 2009 be suppressed pursuant

to 18 U.S.C. § 2518(10)(a)(ii) and Wong Sun v. United States, 371 U.S. 471 (1963), due to lack of

evidence that the issuing judge was presented with the necessary authorization from the U.S.

Department of Justice.

       On December 17, 2010 the government moved for reconsideration and requested a

supplemental hearing to present evidence that the wiretap had, in fact, been authorized by the Justice

Department before the application was presented to the court.

       Objections to the Findings and Recommendation were filed on December 10, 2010 by Carlos

Lomeli (on other grounds) and on December 22, 2010 by the United States. These objections are

pending before Judge Strom.
8:10-cr-00158-LSC-SMB           Doc # 203       Filed: 01/17/11      Page 2 of 6 - Page ID # 584




       Over the defendants' objections to reopening the record, I conducted a supplemental hearing

on January 5, 2011, the transcript of which was filed January 10, 2011 (#202). During the January

5, 2011 hearing, DEA Special Agent Quinn D. Auten testified that he did receive an "Authorization

for Interception Order Application" prior to presenting the wiretap application to the district judge.

Exhibits 1 and 2 were received in evidence.

       The Authorization, which is a Memorandum dated October 21, 2009 (Exhibit 1), says it is

from Lanny A. Breuer, Assistant Attorney General, Criminal Division. The Authorization indicates,

in the second paragraph, that "the undersigned" was a "duly designated official in the Criminal

Division" allowed to exercise the power of authorizing applications for court-ordered wiretaps.

Although Exhibit 1 includes a signature block for Lanny A. Breuer, the document does not purport

to be signed by Mr. Breuer. Instead, it bears the stamped signature of Kenneth A. Blanco, Deputy

Assistant Attorney General, Criminal Division.

       Exhibit 2 is a copy of Attorney General Order No. 3055-2009, which is the corresponding

"SPECIAL DESIGNATION OF CERTAIN OFFICIALS OF THE CRIMINAL DIVISION AND NATIONAL SECURITY

DIVISION TO AUTHORIZE APPLICATIONS FOR COURT ORDERS FOR INTERCEPTION OF WIRE OR ORAL


COMMUNICATIONS."      Under Attorney General Order No. 3055-2009, the following officials were

specially designated to authorize applications for wiretap orders: "The Assistant Attorney General

in charge of the Criminal Division, any Acting Assistant Attorney General in charge of the Criminal

Division, any Deputy Assistant Attorney General of the Criminal Division, and any Acting Deputy

Assistant Attorney General of the Criminal Division."




                                                 -2-
8:10-cr-00158-LSC-SMB            Doc # 203      Filed: 01/17/11      Page 3 of 6 - Page ID # 585




       Agent Auten testified on cross-examination that he later heard from counsel that counsel did

not believe Exhibits 1 and 2 were attached to the October 22, 2009 wiretap application. (Doc. 202,

16:22-24).

                                       LEGAL ANALYSIS

       A. Reopening the Suppression Hearing

       Objections to the December 9, 2010 Findings and Recommendation are pending before the

district court, the district court has not ruled on the defendants' motions to suppress, and no final

judgment has been entered in this case. Under the circumstances, this court retains the discretion

to reopen the record on the motion to suppress.1 See United States. v. Chavez Loya, 528 F.3d 546,

555 (8th Cir. 2008) (citing United States v. Johnson, 944 F.2d 396, 403 n.5 (8th Cir. 1991)); United

States v. Gill, 513 F.3d 836, 846 (8th Cir.), cert. denied, 129 S. Ct. 750 (2008).

       While the court does retain discretion to reopen or conduct an additional suppression hearing,

"'courts should be extremely reluctant to grant reopenings.'" United States v. Kithcart, 218 F.3d 213,

219-20 (3d Cir. 2000) (quoting United States v. Blankenship, 775 F.2d 735, 740 (6th Cir. 1985)).

       The party requesting reopening must explain its failure to present the evidence
       initially and a court must evaluate that explanation and determine if it is both
       reasonable and adequate to explain why the moving party initially failed to introduce
       evidence that may have been essential to meeting its burden of proof.... Generally,
       absent any new evidence or evidence that was unobtainable before the original
       suppression hearing, or any new issues that became relevant since the initial hearing,
       the reopening of a suppression hearing is unwarranted.



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    In the District of Nebraska, in felony cases, "magistrate judges are authorized under 28 U.S.C.
§ 636(b) to perform any duties assigned to them by any district judge of this court that are consistent
with the Constitution and laws of the United States," including the issuance of findings and
recommendations on motions to suppress evidence. NECrimR 59.1(a) & (c). The magistrate judge
may conduct any necessary evidentiary hearing or other proceeding arising in the exercise of the
authority conferred" by NECrimR 59.1(c). NECrimR 59.1(c)(2).

                                                 -3-
8:10-cr-00158-LSC-SMB           Doc # 203       Filed: 01/17/11      Page 4 of 6 - Page ID # 586




United States. v. Stokely, — F. Supp. 2d –– , 2010 WL 3087409 at *6, Case No. 3:10-cr-24 (E.D.

Tenn. Aug. 5, 2010). See also, e.g., United States v. Chavez Loya, 2007 WL 700991, Case No. 06-

cr-3040 (D. Neb. Feb. 28, 2007) (Urbom, J.), aff'd, 528 F.3d 546 (8th Cir. 2008) (no abuse of

discretion in denying defendant's motion to reopen suppression hearing when the defendant did not

demonstrate prejudice and did not explain why objections to search could not have been raised

earlier); United States v. Wipf, 2003 WL 22283380, Case No. 03-111 (D. Minn. Sept. 25, 2003)

(denying government's motion to reopen suppression hearing to present more evidence on probable

cause when government was given notice of the issue one week prior to the hearing); United States

v. Mathis, 653 F. Supp. 2d 806, 810 (E.D. Tenn. 2009); United States v. Santiago, 720 F. Supp. 2d

245 (W.D.N.Y. 2010); United States v. Bejarano-Ramirez, 35 Fed. Appx. 740, Case No. 01-2044

(10th Cir. May 1, 2002) ("It was not an abuse of discretion to deny the government's motion to

reopen a suppression hearing, where the government knew what the limited issues were for the

hearing and simply did not develop its evidence fully for the hearing."). Vague notions of unfairness,

that the government should not have "two bites" off the same apple, do not control. See United

States v. Bayless, 201 F.3d 116, 132 (2d Cir.), cert. denied, 529 U.S. 1061 (2000).

       In this case, the government was given ample advance notice of the defendants' arguments,

appears to concede that the two documents were not attached to the wiretap application when it was

submitted to the district judge, did not provide the documents to the defendants during discovery,

and apparently made no effort to locate the missing documents prior to the suppression hearing.

Instead, the government deliberately elected to proceed on the theory that the omission of the

documents from the wiretap application was only an inconsequential technical defect.




                                                 -4-
8:10-cr-00158-LSC-SMB            Doc # 203      Filed: 01/17/11      Page 5 of 6 - Page ID # 587




       Since the government did not offer any reason why it could not have thoroughly addressed

the defendants' arguments at the time of the suppression hearing, I find that the request to reopen the

hearing should be granted, but only to the extent necessary to provide Judge Strom with a complete

record. Judge Strom can then determine whether the supplemental information provided by the

government should be considered.

       B. Suppression of Wiretap Evidence

       All applications for orders authorizing or approving the interception of a wire, oral, or

electronic communication must include "the identity of the investigative or law enforcement officer

making the application, and the officer authorizing the application." 18 U.S.C. § 2518(1)(a).

Compliance with this statute is mandatory. In this case, to show compliance with this requirement,

the government has relied on the following language:

       Pursuant to Section 2516 of Title 18, United States Code, the Attorney General of the
       United States has specially designated the appropriate officials of the Criminal
       Division to exercise the power conferred on the Attorney General by Section 2516
       of Title 18, United States Code, to authorize this Application, under the power
       designated to him by special designation of the Attorney General pursuant to Order
       Number 3055-2009 of February 26, 2009, and an appropriate official of the Criminal
       Division, has authorized this Application. Attached to this Application are copies of
       the Attorney General's order of Special Designation and the Memorandum of
       Authorization approving this Application.

For purposes of disclosing the identity of the officer authorizing the application, as required by law,

this boilerplate language is meaningless–unless the explanatory documents are actually attached.

       The court assumes that the omission of the explanatory documents from the wiretap

application was inadvertent. The government, however, did not offer any explanation in this regard.

Even assuming that the application was approved by the Justice Department prior to its presentation

to the district judge, there is absolutely no evidence that the identity of the officer who authorized


                                                 -5-
8:10-cr-00158-LSC-SMB             Doc # 203     Filed: 01/17/11      Page 6 of 6 - Page ID # 588




the application was somehow timely disclosed to the judge. The failure of proof on this issue is what

distinguishes this case from United States v. Gray, 521 F.3d 514, 524 (6th Cir. 2008), in which the

Sixth Circuit found that similar omissions amounted to a "technical defect." In Gray, the

government proffered that, if required, the issuing judge would testify that he was aware that the

AUSA had obtained DOJ approval for the wiretap application before the judge signed the order. The

district court denied the government's motion to accept the proffer, but reopened the suppression

hearing to allow the AUSA to testify regarding the circumstances surrounding the submission of his

application for Title III surveillance. The AUSA testified that when he applied for the initial wiretap

told the judge that he had obtained authorization from a DOJ official specially designated to approve

wiretap applications before submitting the application.

       Considering the paucity of evidence as to whether the identity of the officer authorizing the

wiretap application was actually or timely disclosed to the court, I once again conclude that United

States v. Staffeldt, 451 F.3d 578, 579 (2006), as amended, 523 F.3d 983 (9th Cir. 2008), should

govern the result in this case.

                                      RECOMMENDATION

       IT IS AGAIN RECOMMENDED that the defendants' Motions to Suppress (Doc. 142 &

Doc. 158) be granted as to all evidence obtained as the result of the October 22, 2009 Nebraska

Wiretap.


       DATED January 17, 2011.

                                               BY THE COURT:

                                               s/ F.A. Gossett, III
                                               United States Magistrate Judge


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